          Case 1:21-cr-00207-TNM Document 44 Filed 03/14/22 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                          Criminal Number          21-CR-207

MATTHEW COUNCIL
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:               (Please check one)


 9
 □       CJA                9
                            □      RETAINED             9
                                                        □
                                                         ■     FEDERAL PUBLIC DEFENDER


                                                              Samuel Landes
                                                                    (Signature)



                                            PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Samuel Landes, DC# 1552625
                                                          (Attorney & Bar ID Number)
                                          Federal Defenders Office - Middle District of Florida
                                                                   (Firm Name)
                                          400 N. Tampa Street, Ste #2700
                                                                  (Street Address)

                                          Tampa, Florida                       33602
                                            (City)                  (State)           (Zip)

                                          (813) 228-2715
                                                                (Telephone Number)
